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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 BATAAN LICENSING LLC,

                         Plaintiff,
    v.                                                 C.A. NO. 1:22-cv-00238-GBW

 DENTALEZ, INC.,

                         Defendant.


                              AMENDED SCHEDULING ORDER

                This ____ day of ______________ 2022, the Court having conducted an initial Rule

16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined

after discussion that the matter cannot be resolved at this juncture by settlement, voluntary

mediation, or binding arbitration;

         IS HEREBY ORDERED that:

Bataan’s position:

         DentalEZ’s objection to the entry of an amended Scheduling Order is duplicative of its

pending motion to stay. A Scheduling Order has already been entered in this case, and the Court

simply ordered the parties to file an amended proposed Scheduling Order using the Court’s

template. (D.I. 30, 41). There are no disputes regarding the contents of the amended proposed

Scheduling Order. The entry of the amended Scheduling Order does not impact DentalEZ’s

pending motions and instead allows the case to proceed according to the previously entered

schedule while DentalEZ’s pending motions are under the Court’s consideration. The Court

should therefore enter the joint proposed Scheduling Order.

DentalEZ’s position:

         DentalEZ jointly submits this filing pursuant to the Court’s October 25, 2022 oral order to

file a joint amended proposed Scheduling Order consistent with the applicable form Scheduling
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Order of this Court. DentalEZ has also filed a renewed Motion to Stay the case pending a ruling

on its Rule 12(b)(6) Motion to Dismiss (D.I. 38). Briefing on the renewed Motion to Stay was

completed on October 31, 2022. DentalEZ requests that the current case schedule (D.I. 30)

should be stayed and an amended scheduling order should not be entered pending the Court’s

decision on Defendant DentalEZ, Inc,’s Rule 12(b)(6) Motion to Dismiss for Lack of Patent-

Eligible Subject Matter. (See D.I. 14.)

       1.      Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless

otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

Federal Rule of Civil Procedure 26(a)(l) within five (5) days of the date the Court enters this

Order. If they have not already done so, the parties are to review the Court’s Default Standard

for Discovery, Including Discovery of Electronically Stored Information (‘‘ESI”), which is

posted at http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery)

and is incorporated herein by reference.

       2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before January 27, 2023.

Unless otherwise ordered by the Court, any motion to join a party or motion to amend the

pleadings shall be made pursuant to the procedures set forth in Paragraphs 4(g) and 5.

       3.      Disclosures. Absent agreement among the parties, and approval of the Court:

               (a)      By August 19, 2022, Plaintiff shall identify the accused product(s),

including accused methods and systems, and its damages model, as well as the asserted patent(s)

that the accused product(s) allegedly infringe(s). Plaintiff shall also produce the file history for

each asserted patent.

               (b)      By October 3, 2022, Defendant shall produce core technical documents

related to the accused product(s), sufficient to show how the accused product(s) work(s),



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including but not limited to non-publicly available operation manuals, product literature,

schematics, and specifications. Defendant shall also produce sales figures for the accused

product(s).

               (c)     By November 17, 2022, Plaintiff shall produce an initial claim chart

relating each known accused product to the asserted claims each such product allegedly infringes.

               (d)     By January 13, 2023, Defendant shall produce its initial invalidity

contentions for each asserted claim, as well as the known related invalidating references.

               (e)     By January 19, 2024, Plaintiff shall provide final infringement

contentions.

               (f)     By February 16, 2024, Defendant shall provide final invalidity

contentions.

       4.      Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

limitations on discovery set forth in the Federal Rules shall be strictly observed.

               (a)     Fact Discovery Cut Off. All fact discovery in this case shall be initiated so

that it will be completed on or before April 26, 2024.

               (b)     Document Production. Document production shall be substantially

complete by December 15, 2023.

               (c)     Requests for Admission. A maximum of twenty-five (25) requests for

admission are permitted for each party per opposing party. There shall be no limit, however, on

the number of requests for admission for the purpose of authenticating documents .

               (d)     Interrogatories.

                       i.      A maximum of twenty-five (25) interrogatories, including

contention interrogatories, are permitted for each party per opposing party.




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                       ii.     The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention

interrogatories, if filed, shall first be addressed by the party with the burden of proof. The

adequacy of all interrogatory answers shall be judged by the level of detail each party provides

(i.e., the more detail a party provides, the more detail a party shall receive).

               (e)     Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited

to a total of 50 hours of taking fact testimony by deposition upon oral examination.

               Unless otherwise stipulated or ordered by the court, a deposition is limited to one

(1) day of seven (7) hours. The parties acknowledge that certain individuals who have

information relevant to several issues in the case may require more hours for deposition than that

provided herein. For such individuals, the parties will work in good faith to agree on a time limit

in advance, and if the parties cannot reach agreement, may apply to the Court for additional time

by showing good cause to deviate from the above. For any deposition that will exceed seven (7)

hours, the parties will work in good faith to conduct the deposition on consecutive days where

practical and reasonable in light of the subject matter, witness availability, and attorney

availability. The number of deposition hours and length of depositions may be modified by

agreement of the parties or further order of the Court. If any party requests more than the allotted

time for a particular deposition, or if any party per opposing party seeks more than the number of

designated hours set forth herein, the parties agree to meet and confer in good faith to attempt to

resolve the issue without the need for intervention by the Court. Notwithstanding these

limitations, the parties will not be permitted redundant, cumulative or abusive questioning.

                       ii.     Location of Depositions. Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this District Court must ordinarily



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be required, upon request, to submit to a deposition at a place designated within this District.

Exceptions to this general rule may be made by order of the Court or by agreement of the parties.

A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be

considered as having filed an action in this Court for the purpose of this provision.

               (f)     Disclosure of Expert Testimony.

                       i.      Expert Reports. For the party who has the initial burden of proof

on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

testimony is due on or before May 16, 2024. The supplemental disclosure to contradict or rebut

evidence on the same matter identified by another party is due on or before June 21, 2024. Reply

expert reports from the party with the initial burden of proof are due on or before July 19, 2024.

No other expert reports will be permitted without either the consent of all parties or leave of the

Court. Along with the submissions of the expert reports, the parties shall advise of the dates and

times of their experts’ availability for deposition.

                       ii.     Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in

connection with briefing of case dispositive motions.

                       iii.    Expert Discovery Cut-Off. All expert discovery in this case shall

be initiated so that it will be completed on or before August 9, 2024.

               (g)     Discovery Matters and Disputes Relating to Protective Orders.

                       i.      Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.



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                       ii.     Should counsel find, after good faith efforts – including verbal

communications among Delaware and Lead Counsel for all parties to the dispute – that they are

unable to resolve a discovery matter or a dispute relating to a protective order, the parties

involved in the discovery matter or protective order dispute shall submit a joint letter in

substantially the following form:

                       Dear Judge Williams:

                              The parties in the above-referenced
                       matter write to request the scheduling of a
                       discovery teleconference.

                               The following attorneys, including at
                       least one Delaware Counsel and at least one
                       Lead Counsel per party, participated in a
                       verbal meet and- confer (in person and/or by
                       telephone) on the following date(s): _____

                       Delaware Counsel: _________

                       Lead Counsel: _________

                               The disputes requiring judicial attention are
                       listed below:

                       [provide here a non-argumentative list of disputes
                       requiring judicial attention]

                       iii.    On a date to be set by separate order, generally not less than forty-

eight (48) hours prior to the conference, the party seeking relief shall file with the Court a letter,

not to exceed three (3) pages, outlining the issues in dispute and its position on those issues. On a

date to be set by separate order, but generally not less than twenty-four (24) hours prior to the

conference, any party opposing the application for relief may file a letter, not to exceed three (3)

pages, outlining that party's reasons for its opposition.

                       iv.     Each party shall submit two (2) courtesy copies of its discovery

letter and any attachments.



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                       v.      Should the Court find further briefing necessary upon conclusion of

the conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute

prior to the conference and will, in that event, cancel the conference.

       5.      Motions to Amend.

               (a)     Any motion to amend (including a motion for leave to amend) a pleading

shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter not

to exceed three (3) pages, describing the basis for the requested relief, and shall attach the

proposed amended pleading as well as a “blackline” comparison to the prior pleading.

               (b)     Within seven (7) days after the filing of a motion in compliance with this

order, any party opposing such a motion shall file a responsive letter not to exceed five (5) pages.

               (c)     Within three (3) days thereafter, the moving party may file a reply letter

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to amend.

       6.      Motions to Strike.

               (a)     Any motion to strike any pleading or other document shall NOT be

accompanied by an opening brief but shall, instead, be accompanied by a letter not to exceed

three (3) pages, describing the basis for the requested relief, and shall attach the document to be

stricken.

               (b)     Any such Within seven (7) days after the filing of a motion in compliance

with this order, any party opposing such a motion shall file a responsive letter not to exceed five

(5) pages.

               (c)     Within three (3) days thereafter, the moving party may file a reply letter

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to strike.



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        7.      Technology Tutorials. Unless otherwise ordered by the Court, the parties jointly

shall provide the Court, no later than the date on which the Joint Claim Construction Chart is due,

a tutorial on the technology at issue. In that regard, the parties shall jointly submit to the Court an

electronic tutorial of not more than thirty (30) minutes. The tutorial should focus on the

technology in issue and educate the Court about the same and should not be used for argument.

As to the format selected, the parties should confirm the Court's technical abilities to access the

information contained in the tutorial ("mpeg", "quicktime", etc.). The parties may choose to file

their tutorial under seal, subject to any protective order in effect.

        8.      Claim Construction Issue Identification. On or before March 23, 2023, the parties

shall exchange a list of those claim term(s)/phrase(s) that they believe need construction. On or

before April 13, 2023, the parties shall exchange their proposed claim construction of those

term(s)/phrase(s). These documents will not be filed with the Court. Subsequent to exchanging

that list, the parties will meet and confer to prepare a Joint Claim Construction Chart to be

submitted on May 10, 2023. The Joint Claim Construction Chart, in Word format, shall be e-

mailed simultaneously with filing to gbw_civil@ded.uscourts.gov. The parties’ Joint Claim

Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in issue, and

should include each party’s proposed construction of the disputed claim language with citation(s)

only to the intrinsic evidence in support of their respective proposed constructions. A copy of the

patent(s) in issue as well as those portions of the intrinsic record relied upon shall be submitted

with this Joint Claim construction Chart. In this joint submission, the parties shall not provide

argument.

        9.      Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

brief, not to exceed 5,000 words, on June 9, 2023. The Defendant shall serve, but not file, its

answering brief, not to exceed 7,500 words, on July 7, 2023. The Plaintiff shall serve, but not



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file, its reply brief, not to exceed 5,000 words, on July 28, 2023. The Defendant shall serve, but

not file, its sur-reply brief, not to exceed 2,500 words, on August 11, 2023. No later than August

18, 2023, the parties shall file a Joint Claim Construction Brief. The parties shall copy and paste

their unfiled briefs into one brief, with their positions on each claim term in sequential order, in

substantially the form below.

JOINT CLAIM CONSTRUCTION BRIEF

I.        Agreed-Upon Constructions

II.       Disputed Constructions

          [TERM 1]

     1.              Plaintiff’s Opening Position

     2.              Defendant’s Answering Position

     3.              Plaintiff’s Reply Position

     4.              Defendant’s Sur-Reply Position

          [TERM 2]

     1.              Plaintiff’s Opening Position

     2.              Defendant’s Answering Position

     3.              Plaintiff’s Reply Position

     4.              Defendant’s Sur-Reply Position

If there are any materials that would be submitted in an index, the parties shall submit them in a

Joint Appendix.

          10.    Hearing on Claim Construction. Beginning at _________ on _________, the

Court will hear argument on claim construction. The parties shall notify the Court, by joint letter

submission, no later than the date on which their joint claim construction brief is filed: (i) whether




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they request leave to present testimony at the hearing; and (ii) the amount of time they are

requesting be allocated to them for the hearing.

       Provided that the parties comply with all portions of this Scheduling Order, and any other

orders of the Court, the parties should anticipate that the Court will issue its claim construction

order within sixty (60) days of the conclusion of the claim construction hearing. If the Court is

unable to meet this goal, it will advise the parties no later than sixty (60) days after the conclusion

of the claim construction hearing.

       11.     Interim Status Report. On September 8, 2023, counsel shall submit a joint letter

to the Court with an interim report on the nature of the matters in issue and the progress of

discovery to date. Thereafter, if the court deems it necessary, it will schedule a status conference.

       12.     Supplementation. Absent agreement among the parties, and approval of the Court,

               (a)    no later than January 19, 2024 the patentee must finally supplement the

                      identification of all accused products and serve final infringement

                      contentions; and.

               (b)    no later than February 16, 2024 the accused infringers must finally

                      supplement the identification of all invalidity references and serve final

                      invalidity contentions.

       13.     Case Dispositive Motions.

               (a)     All case dispositive motions, an opening brief, and affidavits, if any, in

support of the motion shall be served and filed on or before August 30, 2024. Briefing will be

presented pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be

filed more than ten (10) days before the above date without leave of the Court.

               (b)     Concise Statement of Facts Requirement. Any motion for summary

judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages,



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which details each material fact which the moving party contends is essential for the Court’s

resolution of the summary judgment motion (not the entire case) and as to which the moving

party contends there is no genuine issue to be tried. Each fact shall be set forth in a separate

numbered paragraph and shall be supported by specific citation(s) to the record.

       Any party opposing the motion shall include with its opposing papers a response to the

moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the facts

set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the

extent a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the

record. Failure to respond to a fact presented in the moving party’s concise statement of facts

shall indicate that fact is not in dispute for purposes of summary judgment. The party opposing

the motion may also include with its opposing papers a separate concise statement, not to exceed

four (4) pages, which sets forth material facts as to which the opposing party contends there is a

genuine issue to be tried. Each fact asserted by the opposing party shall also be set forth in a

separate numbered paragraph and shall be supported by specific citation(s) to the record.

       The moving party shall include with its reply papers a response to the opposing party’s

concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis.

Failure to respond to a fact presented in the opposing party’s concise statement of facts shall

indicate that fact remains in dispute for purposes of summary judgment.

               (c)     Page limits combined with Daubert motion page limits. Each party is

permitted to file as many case dispositive motions as desired provided, however, that each SIDE

will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40

pages for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of

the number of case dispositive motions that are filed. In the event that a party files, in addition to

a case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an



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expert’s testimony, the total amount of pages permitted for all case dispositive and Daubert

motions shall be increased to 50 pages for all opening briefs, 50 pages for all answering briefs,

and 25 pages for all reply briefs for each SIDE.1

               (d)     Ranking of Summary Judgment Motions. Any party that files more than

one summary judgment motion shall number each motion to indicate the order in which the party

wishes the Court to review its pending motions. The first motion the party wishes the Court to

consider shall be designated #1, the second motion shall be designated #2, and so on. The Court

will review the party's summary judgment motions in the order designated by the party. If the

Court decides to deny a motion filed by the party, barring exceptional reasons determined sua

sponte by the Court, the Court will not review any lower ranked summary judgment motions filed

by the party

       14.     Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

       15.     Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement

on a proposed form of order and submit it to the Court within ten (10) days from the date the

Court enters this Order. Should counsel be unable to reach an agreement on a proposed form of

order, counsel must follow the provisions of Paragraph 4(g) above.

       Any proposed protective order must include the following paragraph:


   1
        The parties must work together to ensure that the Court receives no more than a total of
250 pages (i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other
side’s motions) of briefing on all case dispositive motions and Daubert motions that are covered
by this scheduling order and any other scheduling order entered in any related case that is
proceeding on a consolidated or coordinated pretrial schedule.

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               Other Proceedings. By entering this order and limiting the
               disclosure of information in this case, the Court does not intend to
               preclude another court from finding that information may be
               relevant and subject to disclosure in another case. Any person or
               party subject to this order who becomes subject to a motion to
               disclose another party’s information designated “confidential” [the
               parties should list any other level of designation, such as “highly
               confidential,” which may be provided for in the protective order]
               pursuant to this order shall promptly notify that party of the motion
               so that the party may have an opportunity to appear and be heard on
               whether that information should be disclosed.

       16.     Papers Filed Under Seal. In accordance with section G of the Revised

Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version

of any sealed document shall be filed electronically within seven (7) days of the filing of the

sealed document.

       17.     Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of

all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

copies shall be double-sided.

       18.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall

be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three (3) pages of argument, may be opposed by a maximum of three

(3) pages of argument, and the side making the in limine request may add a maximum of one (l)

additional page in reply in support of its request. If more than one party is supporting or opposing

an in limine request, such support or opposition shall be combined in a single three (3) page

submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered by




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the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

permitted by the Court.

        19.     Pretrial Conference. On _________________, the Court will hold a pretrial

conference in Court with counsel beginning at ____ .m. Unless otherwise ordered by the Court,

the parties should assume that filing the pretrial order satisfies the pretrial disclosure requirement

of Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint

proposed final pretrial order in compliance with Local Rule 16.3(c) and the Court’s Preferences

and Procedures for Civil Cases not later than seven (7) days before the pretrial conference.

Unless otherwise ordered by the Court, the parties shall comply with the timeframes set forth in

Local Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial order.

                The parties shall provide the Court two (2) double-sided courtesy copies of the

joint proposed final pretrial order and all attachments. The proposed final pretrial order shall

contain a table of contents and the paragraphs shall be numbered.

        20.     Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed

voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict

forms seven (7) business days before the final pretrial conference. This submission shall be

accompanied by a courtesy copy containing electronic files of these documents, in Microsoft

Word format, which may be submitted by e-mail to gbw_civil@ded.uscourts.gov.

        21.     Trial. The trial of the first matter is scheduled for a five (5) day jury trial

beginning at 9:30 a.m. on _________, 20__, with the subsequent trial days beginning at 9:30 a.m.

Until the case is submitted to the jury for deliberations, the jury will be excused each day at 5:30

p.m. The trial will be timed, as counsel will be allocated a total number of hours in which to

present their respective cases.



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         22.   Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after a

jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order

to enter judgment on the verdict. At the same time, the parties shall submit a joint status report,

indicating among other things how the case should proceed and listing any post-trial motions

each party intends to file.

         23.   Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited

to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply

briefs relating to any post-trial motions filed by that side, no matter how many such motions are

filed.

         24.   ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.




                                                       The Honorable Gregory B. Williams
                                                       United States District Judge




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 EVENT                                                   DEADLINES

 Rule 26(a)(l) Initial Disclosures                       Within twenty-one (21) days of the
                                                         date the Court enters this Order
 Proposed Protective Order                               Within thirty (30) days of the date
                                                         the Court enters this Order
 Paragraph 3 Disclosures, Default Standard for           Within thirty (30) days of the date
 Discovery                                               the Court enters this Order
 Paragraph 4(a) Disclosures, Default Standard for
                                                         August 19, 2022
 Discovery (plaintiff identify accused products, etc.)
 Paragraph 4(b) Disclosures, Default Standard for
 Discovery (defendant produce core technical             October 3, 2022
 documents, etc.)
 Paragraph 4(c) Disclosures, Default Standard for
                                                         November 17, 2022
 Discovery (plaintiff produce initial claim charts)
 Joinder of Parties and Motions to Amend or Supplement
                                                         January 27, 2023
 Pleadings
 Paragraph 4(d) Disclosures, Default Standard for
 Discovery (defendant produce invalidity contentions,    January 13, 2023
 etc.)
 Exchange of Lists of Proposed Terms for Claim
                                                         March 23, 2023
 Construction
 Exchange of Proposed Constructions for
                                                         April 13, 2023
 Identified Terms
 Joint Claim Construction Chart                          May 10, 2023

 Plaintiff Opening Claim Construction Brief              June 9, 2023

 Defendant Answer Claim Construction Brief               July 7, 2023

 Plaintiff Reply Claim Construction Brief                July 28, 2023

 Defendant Sur-Reply Claim Construction Brief            August 11, 2023

 File Joint Claim Construction Brief                     August 18, 2023

 Claim Construction Hearing
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 EVENT                                                DEADLINES

 Supplementation of Accused Products and Invalidity   Within thirty (30) days of the date
 References                                           the Court enters the claim
                                                      construction ruling
 Substantially Complete Document Production           December 15, 2023

 Joint Status Report                                  September 8, 2023

 Final Infringement Contentions                       January 19, 2024

 Final Invalidity Contentions                         February 16, 2024

 Fact Discovery Closes                                April 26, 2024

 Opening Expert Report                                May 16, 2024

 Rebuttal Expert Report                               June 21, 2024

 Reply Expert Report                                  July 19, 2024

 Expert Discovery Closes                              August 9, 2024

 Case Dispositive Motions                             August 30, 2024

 Pretrial Conference

 Trial (five days)
